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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 LATEAR BRINSON,
        Plaintiff,

                v.                                         Civil Action No. 20-796 (JEB)

 CORELOGIC RENTAL PROPERTY
 SOLUTIONS, LLC
        Defendant.



                                    SCHEDULING ORDER
       Pursuant to the Initial Scheduling Conference held June 30, 2020, the Court ORDERS

that the following schedule shall govern further proceedings:

   1. Plaintiff may amend her Complaint as a matter of right until July 28, 2020. After that

       date, she may amend only with leave of the Court;

   2. Rule 26(a)(1) Initial disclosures shall be exchanged by July 21, 2020;

   3. Plaintiff’s Rule 26(a)(2) Disclosures shall be due on or before October 1, 2020; with

       Defendant’s Rule 26(a)(2) Disclosures due on or before November 2, 2020; and rebuttal

       export disclosures, if any, due on or before November 20, 2020;

   4. Discovery shall close on January 15, 2021;

   5. Parties are limited to five non-party depositions and twenty-five interrogatories. Leave to

       serve additional requests may be granted to the extent consistent with Rule 26(b)(2);

   6. No discovery motions may be filed without leave of court. In the event that a discovery

       dispute arises, the parties shall make a good faith effort to resolve or narrow the areas of

       disagreement. If the parties are unable to resolve the discovery dispute, the parties shall
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       jointly call chambers at (202) 354-3300, at which time the Court will either rule on the

       issue or determine the manner in which it will be handled; and

   7. Parties may not extend any deadline by stipulation; instead, parties must seek extensions

       by motion. Consent motions are generally looked upon with favor by the Court.


SO ORDERED.


                                                    /s/ James E. Boasberg
                                                    JAMES E. BOASBERG
                                                    United States District Judge


Date: June 30, 2020
